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Case 13-24278 Doci15 Filed 09/13/13 Page 1 of 23

B6 Summary (Official Form 6 - Summary) (12/07)

&

af °
o :
F :

United States Bankruptcy Court’ “:

 

District of Maryland
Sharnett Michel Kelly
Inre Case No. _13-24278
Debtor
Chapter _7
SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all

ALPS

QNI3SEP 13 PM I2: 34

claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical

Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AMOUNTS SCHEDULED
ATTACHED
NAME OF SCHEDULE (YES/NO) NO. OF SHEETS ASSETS LIABILITIES OTHER
A -— Real Property a
YES 1 $ 0.00
B — Personal Property
YES 3 $ 9,160.00
C — Property Claimed
as exempt YES 1
D - Creditors Holding
Secured Claims YES 1 $ 8,000.00
E - Creditors Holding Unsecured
Priority Claims YES 3 $ 2,745.82
(Total of Claims on Schedule E)
F - Creditors Holding Unsecured
Nonpriority Claims YES 7 $ = 29,793.53
G - Executory Contracts and
Unexpired Leases YES 1
H - Codebtors
YES 1
1- Current Income of :
Individual Debtor(s) YES 1 - $ 1,527.72
J - Current Expenditures of Individual :
Debtors(s) YES 1 $ 1,792.00
TOTAL 20 $ 9,160.00 $ 40,539.35

 

 

 

 

 

 
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Case 13-24278 Doc15 Filed 09/13/13 Page 2 of 23
Official Form 6 - Statistical Summary (12/07)

United States Bankruptcy Court

District of Marylan

Inre Sharnett Michel Kelly Case No. 13-24278
Debtor

 

Chapter 7
STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

C] Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of Liability Amount
Domestic Support Obligations (from Schedule E) $ 0.00
Taxes and Certain Other Debts Owed to Governmental Units (from $
Schedule E) 1.947.82
Claims for Death or Personal Injury While Debtor Was Intoxicated (from $
Schedule E) (whether disputed or undisputed) 0.00
Student Loan Obligations (from Schedule F) $ 0.00
Domestic Support, Separation Agreement, and Divorce Decree $
Obligations Not Reported on Schedule E 0.00
Obligations to Pension or Profit-Sharing, and Other Similar Obligations $
(from Schedule F) 0.00
TOTAL |$ 1,947.82
State the Following:
Average Income (from Schedule I, Line 16) $ 1,527.72
Average Expenses (from Schedule J, Line 18) $ 1,792.00
Current Monthly Income (from Form 22A Line 12; OR, Form
22B Line 11; OR, Form 22C Line 20
) $ 2,500.00
State the Following:

 

  

1. Total from Schedule D, “UNSECURED PORTION, IF

ANY” column 1,100.00

  
  
  
  

 

2. Total from Schedule E, “AMOUNT ENTITLED TO
PRIORITY” column.

 

3. Total from Schedule E, “AMOUNT NOT ENTITLED TO

PRIORITY, IF ANY” column 2,645.82

 

 

4. Total from Schedule F 29,793.53

 

 

5. Total of non-priority unsecured debt (sum of 1, 3, and 4) 33,539.35

 

 

 
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B6A (Official Form 6A) (12/07)

Inre _Sharnett Michel Kelly

Debtor

Case No. 13-24278

(If known)

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
“Ww,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C —

 

 

 

 

 

 

 

 

Property Claimed as Exempt.
e
z
S| CURRENT VALUE
at z OF DEBTOR’S
DESCRIPTION AND LOCATION NATURE OF DEBTOR’S Ss INTEREST IN AMOUNT OF
OF PROPERTY INTEREST IN PROPERTY ~. S| PROPERTY, WITHOUT SECURED
B | DEDUCTING ANY CLAIM
S| SECURED CLAIM
3 ° OR EXEMPTION
None
m3
=
Locked
“3 wee?
—_ go
wo 4
+. ii
: = earn
be S “et a
oo
Le
Total 0.00

 

 

 

(Report also on Summary of Schedules.)
 

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Case 13-24278 Doci15 Filed 09/13/13 Page 4 of 23

BOB (Official Form 6B) (12/07)

In re _ Sharnett Michel Kelly
Debtor

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Case No. .13-24278
(If known)

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

 

TYPE OF PROPERTY

m2ZzoOozw

DESCRIPTION AND LOCATION
OF PROPERTY

HUSBAND, WIFE, JOINT
OR COMMUNITY

CURRENT VALUE OF
DEBTOR’S INTEREST
IN PROPERTY,
WITHOUT
DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

 

1. Cash on hand.

certificates of deposit, or shares in banks, savings
and loan, thrift, building and loan, and homestead
associations, or credit unions, brokerage houses,
or cooperatives.

3. Security deposits with public utilities,
telephone companies, landlords, and others.

4. Household goods and fumishings, including
audio, video, and computer equipment.

5. Books. Pictures and other art objects,

antiques, stamp, coin, record, tape, compact disc,
and other collections or collectibles.

6. Wearing apparel.

7. Furs and jewelry.

8. Firearms and sports, photographic, and other
hobby equipment.

9. Interests in insurance policies. Name
insurance company of each policy and itemize
surrender or refund value of each.

10. Annuities. Itemize and name each issuer.

11. Interests in an education IRA as defined in 26
U.S.C. § 530(b)(1) or under a qualified State
tuition plan as defined in 26 U.S.C. § 52%b\(1).
Give particulars. (File separately the record(s) of
any such interest(s). 11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or other
pension or profit sharing plans. Give particulars.

13. Stock and interests in incorporated and
unincorporated businesses. Itemize.

 

2. Checking, savings or other financial accounts,

 

 

Cash on hand
Security Plus Credit Union

Sofa, Bedroom Set, Table, Dresser, Computer, Laptop,
Radio, TV
CD and Itunes 25 and 3 Bibles

7 Shirts, 6 Pants, 10 Dressses, 4 Pairs of Shoes

403B

 

 

10.00
150.00

1,000.00

250.00

250.00

600.00

 

 
 

a Case 13-24278 Doc15 Filed 09/13/13 Page 5 of 23
B6B (Official Form 6B) (12/07) — Cont.

In re _ Sharnett Michel Kelly Case No, _13-24278
Debtor (If known)

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

DESCRIPTION AND LOCATION
OF PROPERTY

TYPE OF PROPERTY

mZzO0Z
HUSBAND, WIFE, JOINT
OR COMMUNITY

CURRENT VALUE OF
DEBTOR’S INTEREST
IN PROPERTY,
WITHOUT
DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

 

14. Interests in partnerships or joint ventures.
Itemize.

15. Government and corporate bonds and other
negotiable and non-negotiable instruments.

16. Accounts receivable.

~ x OK

17. Alimony, maintenance, support, and property
settlement to which the debtor is or may be
entitled. Give particulars.

*

18. Other liquidated debts owing debtor including
tax refunds. Give particulars.

19. Equitable or future interests, life estates, and xX
rights or powers exercisable for the benefit of the
debtor other than those listed in Schedule A -

Real Property.

20. Contingent and noncontingent interests in xX
estate or a decedent, death benefit plan, life
insurance policy, or trust.

21. Other contingent and unliquidated claims of xX
every nature, including tax refunds, counterclaims
of the debtor, and rights of setoff claims. Give
estimated value of each.

22. Patents, copyrights, and other intellectual X
property. Give particulars,

23. Licenses, franchises, and other general xX
intangibles. Give particulars.

24, Customer lists or other compilations xX
containing personally identifiable information (as
defined in 11 U.S.C. §101(41A)) provided to the
debtor by individuals in connection with obtaining
a product or service from the debtor primarily for
personal, family, or household purposes.

25. Automobiles, trucks, trailers, and other 2008 Chevy Malibu 2008
vehicles and accessories. 2004 Ford Explorer

26, Boats, motors, and accessories.

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27. Aircraft and accessories.
28. Office equipment, furnishings, and supplies.

29. Machinery, fixtures, equipment, and supplies
used in business.

30. Inventory.

eK OOK OK

31. Animals.

 

 

 

 

 

5,000.00
1,900.00

 

 
 

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B6B (Official Form 6B) (12/07) -- Cont.

Inre _ Sharnett Michel Kelly

Case No, 13-24278

 

 

 

 

 

 

 

Debtor (If known)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
be
g > | CURRENT VALUE OF
™ & |[DEBTOR’S INTEREST
N Es S IN PROPERTY,
TYPE OF PROPERTY Oo DESCRIPTION AND LOCATION = S WITHOUT
N OF PROPERTY e o DEDUCTING ANY
E < | SECURED CLAIM
a ° OR EXEMPTION
=
32. Crops - growing or harvested, Give xX
particulars.
33. Farming equipment and implements. x
34, Farm supplies, chemicals, and feed. xX
35. Other personal property of any kind not xX
already listed. Itemize.
0 continuation sheets attached Total $ 9,160.00

(include amounts from any continuation
sheets attached. Report total also on
Summary of Schedules.)

 

 

 
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B6C (Official Form 6C) (04/13)

Inre _ Sharnett Michel Kelly Case No. _13-24278
Debtor (If known)

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 

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Debtor claims the exemptions to which debtor is entitled under:

(Check one box)

O 11US.c. §522()(2)

OO Check if debtor claims a homestead exemption that exceeds

 

 

*
MW] 11 US.C. §522(b)3) $155,675*.
CURRENT
SPECIFY LAW VALUE OF VALUE OF PROPERTY
DESCRIPTION OF PROPERTY PROVIDING EACH CLAIMED WITHOUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTION
Cash on hand Md.Cts & Jud. Proc. Code § 10.00 10.00
11-504(b)(5)
7 Shirts, 6 Pants, 10 Dressses, 4 Pairs of Md.Cts & Jud. Proc. Code § 250.00 250.00
Shoes 11-504(b)(4)
2008 Chevy Malibu 2008 Md.Cts & Jud. Proc. Code § 0.00 5,000.00
11-504(b)(5)
2004 Ford Explorer Md.Cts & Jud. Proc. Code § 0.00 1,900.00
11-504(b)(5)
Sofa, Bedroom Set, Table, Dresser, Md.Cts & Jud. Proc. Code § 600.00 1,000.00
Computer, Laptop, Radio, TV 11-504(b)(4)
Md.Cts & Jud. Proc. Code § 400.00
11-504(b)(5)
Security Plus Credit Union Md.Cts & Jud. Proc. Code § 150.00 150.00
11-504(b)(4)
CD and Itunes 25 and 3 Bibles Md.Cts & Jud. Proc. Code § 250.00 250.00
11-504(b)(5)
403B Md.Cts & Jud. Proc. Code § 600.00 600.00
11-504(h)

 

 

 

 

 

*Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.

 
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B6D (Official Form 6D) (12/07)

Sharnett Michel Kelly , Case Nol 3-24278
Debtor (If known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
§112 and Fed. R. Bankr. P. 1007(m). Ifall secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
one of these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

In re

C] Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5 a AMOUNT
CREDITOR’S NAME. mis z DATE CLAIM WAS INCURRED, c a A OF
MAILING ADDRESS 2 dz NATURE OF LIEN, AND Bl <] 5 CLAIM UNSECURED
INCLUDING ZIP CODE ale DESCRIPTION AND Z| =| =| _Withour PORTION,
AND ACCOUNT NUMBER 5 a5 VALUE OF PROPERTY =| 5] &| DEDUCTING IF ANY
S14ag SUBJECT TO LIEN Z| S| 4] VALUE OF
(See Instructions Above.) QO 5 & 5 Z COLLATERAL
ACCOUNT NO. Security: 2004 Ford Explorer 600.00
CARMAX AUTO FINANCE
ATTN: CUSTOMER SERVICE 2,500.00
P.O. BOX 440609
KENNESAW, GA 30160
VALUE $ 1,900.00
ACCOUNT NO. Security: 2008 Chevy Malibu 2008 500.00
SUNTRUST BANK
ATTENTION: BANKRUPTCY 5,500.00
P.O. BOX 85024
RICHMOND, VA 23285
VALUE $ 5,000.00
ACCOUNT NO.
VALUE $
0 continuation sheets attached (Total ona $ 8,000.00 | $_ 1,100.00
Total
(Use only on last twice) $ 8,000.00 | $ 1,100.00
(Report also on (If applicable, report
Summary of Schedules) also on Statistical
Summary of Certain
Liabilities and Related

Data.)
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B6E (Official Form 6E) (04/13)

Inre Sharnett Michel Kelly Case No. 13-24278
Debtor (if known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with

the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. Ifa minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R.Bankr.P. 1007(m).

 

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
Joint, or Community." If the claim is contingent, place an "X" in the column labeled “Contingent.” If the claim is unliquidated, place an "X"
in the column labeled "Unliquidated.” If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors

with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
Data.

[1] Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

[.] Domestic Support Obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

C Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)@).

CO Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a){4).

C] Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

*Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6E (Official Form 6E) (04/13) - Cont.

Sharnett Michel Kelly Case No, 13-24278
Debtor (if known)

In re

OC Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

LC] Deposits by individuals

Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

a Taxes and Certain Other Debts Owed to Governmental Units

Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

CC Commitments to Maintain the Capital of an Insured Depository Institution
Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroiler of the Currency, or Board of

Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
U.S.C. § 507 (a)(9).

(1 Claims for Death or Personal Injury While Debtor Was Intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).

* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

1 continuation sheets attached
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Case 13-24278 Doc 15

B6E (Official Form 6E) (04/13) - Cont.

In wsharnett Michel Kelly

Debtor

Filed 09/13/13 Page 11 of 23

Case Nol 3 -242 78

 

(If known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
Sec. 507(a)(8)

(Continuation Sheet)

 

Type of Priority for Claims Listed on This Sheet

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

z
CREDITOR’S NAME, & SE] patectaimwas {5% eB a AMOUNT
MAILING ADDRESS =| 2S INCURRED AND oi<12 AMOUNT AMOUNT NOT
INCLUDING ZIP CODE, 122] CONSIDERATION z/Si5 OF ENTITLED TO | ENTITLED
AND ACCOUNT NUMBER 8 z s FOR CLAIM 5 5 Z CLAIM PRIORITY TO
(See instructions above..) OT as ’ 6/s]a PRIORITY, IF
= 0 Zz ANY
ACCOUNT NO. Consideration: Tax
COMPTROLLER OF MARYLAND Year 2008
STATE OFFICE BUILDING Xx y 1,847.82 0.00 1,847.82
301 W. PRESTON STREET,
ROOM 203
BALTIMORE, MD 21201
ACCOUNT NO.
INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY 100.00 100.00 0.00
OPERATION
P.O.BOX 7346
PHILADELPHIA, PA 19101
ACCOUNT NO. 1125
MARYLAND DLLR DIVISION OF
UNEMPLOYMENT 798.00 0.00 798.00
INSURANCE LITIGATION AND
PROSECUTION
1100 N. EUTAW STREET, ROOM
401
BATSYMORE, MD 21201
sheet no. | of | continuation sheets attached to Schedule of Subtotal » 2,745.82 | $ 100.00] $ 2,645.82
ectno. Or Continuation sheets attached to schedule o j
Creditors Holding Priority Claims (Totals of this page)
Total > 2,745.82
(Use only on last page of the completed
Schedule E.) Report also on the Summary
of Schedules)
Totals » $ 2,645.82
(Use only on last page of the completed
Schedule E. If applicable, report also on
the Statistical Summary of Certain

 

Liabilities and Related Data.)

 

    
 

 

 

 
 

 

 

 
 

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B6F (Official Form 6F) (12/07)

Inre Sharnett Michel Kelly ; CaseNo. 13-24278
Debtor (If known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

 

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W," "J," or “C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
Related Data.

C Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM.
IF CLAIM IS SUBJECT TO SETOFF,
SO STATE.

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

AMOUNT
OF
CLAIM

CODEBTOR
HUSBAND, WIFE, JOINT
ORCOMMUNITY
CONTINGENT
UNLIQUIDATED
DISPUTED

 

ACCOUNT NO. Consideration: Insurance

 

AMERICAN BANKERS
INSURANCE COMPANY 200.00
ATTENTION: BANKRUPTCY
P.O. BOX 4337
SCOTTSDALE, AZ 85261

 

ACCOUNT NO.

 

AMERICAN WEB LOAN
ATTENTION: BANKRUPTCY Xx 750.00
522 N 14TH ST # 130

PONCA CITY, OK 74601

 

ACCOUNT NO. Consideration: Apartment Lease

BRENBROOK APARTMENTS

C/O QUEST MANAGEMENT 5,200.00
GROUP,

ATTENTION: RISK MANAGEMENT

1 CINNAMON CIRCLE

 

RA&GSDALESTOWN, MD 21133

 

CASHNETUSA
ATTENTION: BANKRUPTCY DEPT Xx 400.00
200 WEST JACKSON, SUITE 1400
CHICAGO, IL 60606

 

 

 

 

 

 

 

 

continuation sheets attached Subtotal > | $ 6,550.00

 

 

Total > | ¢

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 
 

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Case 13-24278 Doci5 Filed 09/13/13 Page 13 of 23

B6F (Official Form 6F) (12/07) - Cont.

Inre Sharnett Michel Kelly
Debtor

, Case No, 13-24278

 

(If known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR
HUSBAND, WIFE, JOINT
ORCOMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM.
IF CLAIM IS SUBJECT TO SETOFF,

CONTINGENT
DISPUTED

UNLIQUIDATED

AMOUNT
OF
CLAIM

 

ACCOUNT NO.

 

CLIENT SERVICES
3451 GARRY S TRUMAN BLVD
ST CHARLES, MO 63301

1,700.00

 

ACCOUNT NO.

 

COMCAST

ATTENTION: BANKRUPTCY
20 W GUDE DR #60
ROCKVILLE, MD 20850

567.00

 

ACCOUNT NO.

 

COMENITY BANK
BANKRUPTCY DEPARTMENT
PO BOX 182125

COLUMBUS, OH 43218

Consideration: Charge Card

1,500.00

 

ACCOUNT NO.

 

COMENITY BANK/LANE BRYANT
PO BOX 182273
COLUMBUS, OHIO 43218-2273

800.00

 

ACCOUNT NO.

 

DR. HOWARD S. FREUNDLICH,
DDS

5310 OLD COURT RD SUITE 202
RANDALLSTOWN, MD 21133

 

 

 

 

 

 

 

500.00

 

Sheet no. | of & _ continuation sheets attached

to Schedule of Creditors Holding Unsecured
Nonpriority Claims

Subtotal>

Total >

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

$

5,067.00

 

 

 

 
 

Case 13-24278 Doci15 Filed 09/13/13 Page 14 of 23

B6F (Official Form 6F) (12/07) - Cont.

In re Sharnett Michel Kelly Case No. 13-24278
Debtor (If known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM.
IF CLAIM IS SUBJECT TO SETOFF,

AMOUNT
OF
CLAIM

CODEBTOR
HUSBAND, WIFE, JOINT
ORCOMMUNITY
CONTINGENT
DISPUTED

UNLIQUIDATED

 

ACCOUNT NO. Consideration: Credit card debt

FIRST NATIONAL BANK OF
OMAHA 2,500.00
P.O. BOX 2490

OMAHA, NE 68103-2490

 

 

ACCOUNT NO.

GE CAPITAL RETAIL
BANK\GECRB 1,400.00
WALMART CREDIT CARD
PO BOX 965004
ORLANDO, FL 32896

 

 

ACCOUNT NO.

GOVERNMENT EMPLOYEES
INSURANCE 350.00
ATTN: BANKRUPTCY

PO BOX 9500
FREDERICKSBURG, VA 22403

 

 

ACCOUNT NO. Attorney for Creditor Lendmark

JONATHAN BIERER, ESQ.
BIERER & MARGOLIS, P.A. Notice Only
502 S SHARP STREET, #1100
BALTIMORE, MD 21201

 

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ACCOUNT NO. Lawyer for Sinai

LAW OFFICES OF JOHN LINDER
JOHN E. LINDER,ESQ Notice Only
PO BOX 507
LINTHICUM, MD 21090

 

 

 

 

 

 

 

 

Sheet no. 2 of & continuation sheets attached Subtotal> | $ 4,250.00
to Schedule of Creditors Holding Unsecured :
Nonpriority Claims Total > | $

(Use only on last page of the completed Schedule F.)

(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

 

 

 

 

 

 
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Case 13-24278 Doci15 Filed 09/13/13 Page 15 of 23

BOF (Official Form 6F) (12/07) - Cont.

Inre Sharnett Michel Kelly
Debtor

Case No. 13-24278

 

(If known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR

HUSBAND, WIFE, JOINT
ORCOMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM.
IF CLAIM IS SUBJECT TO SETOFF,

CONTINGENT
DISPUTED

UNLIQUIDATED

AMOUNT
OF
CLAIM

 

ACCOUNT NO.

 

LENDMARK FINANCIAL
SERVICES

ATTENTION: BANKRUPTCY DEPT
8519 LIBERTY ROAD
RANDALLSTOWN, MD 21133

Consideration: Loan

5,495.77

 

ACCOUNT NO.

 

Litigation Enforcement Group
Po Box 931292
Norcross, GA 30003

Consideration: Personal loan

350.00

 

ACCOUNT NO.

 

LTD FINANCIAL SERVICES
ATTENTION: BANKRUPTCY
7322 SOUTWEST FRWY
SUITE 1600

HOUSTON, TX 77074

Consideration: Credit card debt

750.00

 

ACCOUNT NO.

 

M&T BANK
P.O. BOX 1288
BUFFALO, NY 14240

200.00

 

ACCOUNT NO.

200 E JOPPA ROAD, STE 301
TOWSON, MD 21286

 

MICHAEL J. FRADKIN, ESQ.

 

 

Consideration: Attorney

 

 

 

 

Notice Only

 

Sheet no. 3 of 6 _continuation sheets attached

to Schedule of Creditors Holding Unsecured
Nonpriority Claims

Subtotal>

Total >

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

6,795.77

 

 

 

 
 

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Case 13-24278 Doci15 Filed 09/13/13 Page 16 of 23

B6F (Official Form 6F) (12/07) - Cont.

Inre Sharnett Michel Kelly
Debtor

Case No, 13-24278

 

(If known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR
HUSBAND, WIFE, JOINT
ORCOMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM.
IF CLAIM IS SUBJECT TO SETOFF,

CONTINGENT
DISPUTED

UNLIQUIDATED

AMOUNT
OF
CLAIM

 

ACCOUNT NO.

 

MR. HARRY E. BLACK

DIRECTOR OF FINANCE,
BALTIMORE

454 CITY HALL, 100 N. HOLLIDAY
BALTIMORE, MARYLAND 21202

Notice Only

 

ACCOUNT NO.

 

MR. KEITH DORSEY
DIRECTOR OF FINANCE,
BALTIMORE COUNTY

400 WASHINGTON AVENUE
TOWSON, MARYLAND 21204

Consideration: Ticket

100.00

 

ACCOUNT NO.

 

NATIONAL ENTERPRISE
SYSTEMS

ATTENTION: BANKRUPTCY
29125 SOLON ROAD
SOLON, OH 44139

1,100.00

 

ACCOUNT NO.

 

NCO FINANCIAL SYSTEMS, INC.
ATTENTION: BANKRUPTCY

507 PRUDENTIAL ROAD
HORSHAM, PA 19044

2,200.00

 

ACCOUNT NO.

 

NORTHWEST HOSPITAL
ATTENTION: FINANCIAL
SERVICES

5401 OLD COURT ROAD
RANDALLSTOWN, MD 21133

 

 

 

Consideration: Medical Bill

 

 

 

 

350.00

 

Sheetno. 4 of & _ continuation sheets attached

 

to Schedule of Creditors Holding Unsecured
Nonpriority Claims

Subtotal>

Total >

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

$

3,750.00

 

 

 

 
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Case 13-24278 Doci15 Filed 09/13/13 Page 17 of 23

B6F (Official Form 6F) (12/07) - Cont.

Inre Sharnett Michel Kelly
Debtor

; Case No.

13-24278

 

(If known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR
HUSBAND, WIFE, JOINT
ORCOMMUNITY

DATE CLAIM WAS ENCURRED AND
CONSIDERATION FOR CLAIM.
IF CLAIM IS SUBJECT TO SETOFF,

CONTINGENT
DISPUTED

UNLIQUIDATED

AMOUNT
OF
CLAIM

 

ACCOUNT NO.

 

OMNI CREDIT SERVICES OF
FLORIDA, INC

PO BOX 31179

TAMPA, FL 33631

Consideration: Insurance

125.00

 

ACCOUNT NO.

 

QUEST MANAGEMENT GROUP,
INC
ATTENTION: RISK MANAGEMENT

6807 PARK HEIGHTS AVENUE

TRaLTIMORE MD_21215

Notice Only

 

ACCOUNT NO.

 

RECEIVABLES PERFORMANCE
MANAGEMENT

ATTENTION: BANKRUPTCY
PO BOX 1548

LYNNWOOD, WA 98046

350.00

 

ACCOUNT NO.

 

SINAI HOSPITAL
ATTENTION: FINANCIAL
SERVICES

2434 W BELVEDERE AVENUE
BALTIMORE, MD 21215

305.76

 

ACCOUNT NO.

 

SPRINT
KSOPHT0101-Z4300

6391 SPRINT PARKWAY
OVERLAND PARK KS 66251

 

 

 

 

 

 

 

400.00

 

Sheetno. 3 of 6
to Schedule of Creditors Holding Unsecured
Nonpriority Claims

 

 

continuation sheets attached

Subtotal>
Total >

(Use only on last page of the completed Schedule F.)

(Report also on Summary of Schedules and, if applicable, on the

Statistical Summary of Certain Liabilities and Related Data.)

1,180.76

 

 

 

 
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Case 13-24278 Doci15 Filed 09/13/13 Page 18 of 23

BOF (Official Form 6F) (12/07) - Cont.

Inre Sharnett Michel Kelly

Debtor

, Case No.

13-24278

 

(If known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR
HUSBAND, WIFE, JOINT
ORCOMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM.
IF CLAIM IS SUBJECT TO SETOFF,

AMOUNT
OF
CLAIM

CONTINGENT
DISPUTED

UNLIQUIDATED

 

ACCOUNT NO.

 

STATE EMPLOYEES CREDIT
UNION

ATTENTION: BANKRUPTCY
971 CORPORATE BOULEVARD
LINTHICUM, MD 21090

1,100.00

 

ACCOUNT NO.

 

SUNTRUST BANK
ATTENTION: BANKRUPTCY
P.O. BOX 85024

RICHMOND, VA 23285

1,100.00

 

ACCOUNT NO.

 

 

ACCOUNT NO.

 

 

ACCOUNT NO.

 

 

 

 

 

 

 

 

 

Sheet no. 6 of 6
to Schedule of Creditors Holding Unsecured
Nonpriority Claims

 

 

continuation sheets attached

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

Subtotal> | $ 2,200.00

 

Total» | $ 29,793.53

 

 

 
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Case 13-24278 Doci5 Filed 09/13/13 Page 19 of 23

B6G (Official Form 6G) (12/07)

: Sharnett Michel Kelly Case No. 13-24278

Debtor (if known)
SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
guardian.” Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

Inr

 

 

vw Check this box if debtor has no executory contracts or unexpired leases.

 

DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF

NAME AND MAILING ADDRESS, INCLUDING ZIP CODE, DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
OF OTHER PARTIES TO LEASE OR CONTRACT. NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT

NUMBER OF ANY GOVERNMENT CONTRACT.

 

 

 

 

 

 

 

 

 

 

 
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Case 13-24278 Doc15 Filed 09/13/13 Page 20 of 23

B6H (Official Form 6H) (12/07)

Inre _Sharnett Michel Kelly Case No. 13-24278
Debtor (if known)

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
Fed. Bankr. P. 1007(m).

C1 Check this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

 

Karen Brown CARMAX AUTO FINANCE

3964 Penhurst Avenue ATTN: CUSTOMER SERVICE

Baltimore, MD 21215 P.O. BOX 440609
KENNESAW, GA 30160

 

 

 
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Case 13-24278 Doc15 Filed 09/13/13 Page 21 of 23

BOI (Official Form 61) (12/07)

Sharnett Michel Kelly 13-24278
In re Case
Debtor (if known)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

Debtor’s Marital DEPENDENTS OF DEBTOR AND SPOUSE
Status: Single RELATIONSHIP(S): No dependents AGE(S):

DEBTOR SPOUSE
Occupation Childcare Worker

Name of Employer Board of Child Care

 

 

How 6 Months

Address of Employer 3300 Gaither Road
Baltimore, MD 21244

 

INCOME: (Estimate of average or projected monthly income at time case filed) DEBTOR SPOUSE

1. Monthly gross wages, salary, and commissions

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Prorate if not paid monthly.) $ 2,500.00 $ NA.
2. Estimated monthly overtime $ 0.00 $ N.A.
3. SUBTOTAL $__ 2,500.00 $ N.A.
4, LESS PAYROLL DEDUCTIONS
Payroll d social . $ 629.91 $ N.A.
a. Payroll taxes and social security $ 125.71 $ N.A.
b. Insurance
c. Union Dues $ 0.00 $ N.A.
d. Other (Specify:_403B (Retirement) ) $ 216.66 $ N.A.
5. SUBTOTAL OF PAYROLL DEDUCTIONS $ 972.28 $ N.A.
6.. TOTAL NET MONTHLY TAKE HOME PAY $ 1,527.72 $ N.A.
7. Regular income from operation of business or profession or farm $ 0.00 $ N.A.
(Attach detailed statement)
8. Income from real property $ 0.00 $ N.A.
9. Interest and dividends $ 0.00 $ NA.
10. Alimony, maintenance or support payments payable to the debtor for the 5 $
debtor’s use or that of dependents listed above. 0.00 NA.
11. Social security or other government assistance $ 0.00 $ NA.
( Specify)
12. Pension or retirement income $ 0.00 § N.A.
13, Other monthly income $ 0.00 $ NA.
(Specify) $ 0.00 $ N.A.
14, SUBTOTAL OF LINES 7 THROUGH 13 $ 0.00 $ NA
15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14) $ 1,527.72 $ N.A.
16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals $ 1,527.72

 

 

 

from line 15)
(Report also on Summary of Schedules and, if applicable,
on Statistical Summary of Certain Liabilities and Related Data)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:

None

 

 

 
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Case 13-24278 Doc15 Filed 09/13/13 Page 22 of 23
B6J (Official Form 6.) (12/07)

Case No, 13-24278
(if known)

In re_ Sharnett Michel Kelly
Debtor

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

[1 Check this box ifa joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures

 

 

 

 

 

labeled “Spouse.”
1. Rent or home mortgage payment (include lot rented for mobile home) $ 500.00
a. Are real estate taxes included? Yes No
b. Is property insurance included? Yes No J
2. Utilities: a. Electricity and heating fuel $ 0.00
b. Water and sewer $ 0.00
c. Telephone $ 150.00
d. Other Internet $ 95.00
3. Home maintenance (repairs and upkeep) $ 0.00
4. Food § 200.00
5. Clothing $ $0.00
6. Laundry and dry cleaning $ 75.00
7. Medical and dental expenses $ 75.00
8. Transportation (not including car payments) $ 200.00.
9. Recreation, clubs and entertainment, newspapers, magazines, etc. $ 50.00.
10.Charitable contributions $ 50.00
11 Insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner’s or renter’s $ 0.00.
b. Life $ 0.00
c. Health $ 0.00
d.Auto $ 200.00.
e. Other. $ 0.00
12.Taxes (not deducted from wages or included in home mortgage payments)
(Specify) $ 0.00.
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
a. Auto $ 147.00
b. Other $ 0.00
c. Other $ 0.00
14. Alimony, maintenance, and support paid to others $ 0.00
15. Payments for support of additional dependents not living at your home $ 0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement) $ 0.00

17. Other $ 0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,

if applicable, on the Statistical Summary of Certain Liabilities and Related Data)

19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
None

 

 

20. STATEMENT OF MONTHLY NET INCOME

 

a. Average monthly income from Line 15 of Schedule I $ 1,527.72
b. Average monthly expenses from Line 18 above $ 1,792.00
c. Monthly net income (a. minus b.) $ -264.28
278 Doc15 Filed.09/13/13.....Rage23.of 23...

 

   
      
   

Case No, 13-24278
(if known)

ON CONCERNING DEBTOR'S SCHEDULES

ION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

 

I have read the foregoing summary and schedules, consisting of 22 Sheets, and that they

information, and belief.

      

 

Signature: Not Applicable
(Joint Debtor, ifany)
[If joint case, both spouses must sign.)

 

OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 116)

am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
h.a copy.of this document and the notices and information required under 11 U.S.C. §§ 1100),

s have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
debtor notice of the maximum amount before preparing any document for filing for a debtor or
that section.

 

Social Security No.
(Required by 11 U.S.C. § 110.)
state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner

 

Date
who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

signed sheets conforming to the appropriate Official Form for each person.

of titie 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment ar both: 11 US.C. § 110;

 

.LTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

[the president or other officer or an authorized agent of the corporation ora member
(corporation or partnership) named as debtor
I have read the foregoing summary and schedules, consisting of «sheets (fotal
true and correct to the best of my knowledge, information, and belief.

 

Signature:

 

 

[Print or type name of individual signing on behalf of debtor.)
Of a partnership or corporation must indicate position or relationship to debtor.]
property: Fine of up to $$00,000 or imprisonment for up to 5 years or both. 18 U:S.C. $§ 152 and 3571,

 

 

 
